       Case 3:15-cr-02759-AJB               Document 64            Filed 04/21/16            PageID.170        Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                  UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRlCT OF CALIFORNIA
                                                                                                                     21116 APR 21 PM 3:
            UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                       V.                                           (For Offenses Committed On or After November I~. \lt~IjW.
                     OSCAR RUIZ (01)
                                                                       Case Number:          lSCR27S9-AJB             <l\<   -en     oe

                                                                    David J. Guzman
                                                                    Defendant's Attorney
REGISTRATION NO.                 50949298
D -
THE DEFENDANT:
cgj pleaded guilty to connt(s)       One ofthe Information

D   was fonnd guilty on connt(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Natnre of Offense                                                                 Number(s)
8 USC 1324(a)(l)(A)(ii)            Transportation of Certain Aliens for Financial Gain                                 1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on connt(s)
D Count(s)                                                    is          dismissed on the motion of the United States.
              ----------~---------
      Assessment: $100.00
cgj



cgj   Fine waived            D Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines; restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                     ON. ANTHONY J. B   GLIA
                                                                    UNITED STATES DISTRlCT JUDGE



                                                                                                                   15CR2759-AJB
      Case 3:15-cr-02759-AJB              Document 64       Filed 04/21/16       PageID.171        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                OSCAR RillZ (01)                                                         Judgment - Page 2 of 4
CASE NUMBER:              l5CR2759-AJB

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D at _ _ _ _ _ _ _ _ A.M.                          on _____________________________________
       D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D    on or before
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   _________________________ to _______________________________


 at ________________________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       ISCR27S9-AJB
              Case 3:15-cr-02759-AJB                 Document 64              Filed 04/21/16            PageID.172            Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   OSCAR RUIZ (01)                                                                              Judgment - Page 3 of 4
    CASE NUMBER:                 15CR2759-AJB

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D         substance abuse. (Check, ifapplicable.)
          The defendant shall not possess a firearm, anununition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the-requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qUalifYing offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine Or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his Of her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                    lSCR27S9-AJB
      Case 3:15-cr-02759-AJB         Document 64        Filed 04/21/16      PageID.173       Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            OSCAR RUIZ (01)                                                        Judgment - Page 4 of 4
CASE NUMBER:          15CR2759-AJB

                               SPECIAL CONDITIONS OF SUPERVISION




   I. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

   2. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
      directed by the probation officer. Allow for reciprocal release of information between the probation officer
      and the treatment provider. May be required to contribute to the costs of services rendered in an amount
      to be determined by the probation officer, based on ability to pay.

   3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds
      for revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.




                                                                                                 15CR2759-AJB
